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 4
   Attorney for Defendant
 5 TERESA MARIA MORALES
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                No. CR S 07 00314 FCD
10                                       )
                 Plaintiff,              )                STIPULATION AND ORDER
11                                       )                EXTENDING TIME TO FILE
           v.                            )                BOND DOCUMENTS
12                                       )
     TERESA MARIA MORALES,               )
13   ENRIQUE MORALES, et al.,            )
                                         )
14               Defendant.              )
     ____________________________________)
15
            Defendants Teresa Maria Morales and Enrique Morales were ordered released on August
16
     8, 2007. Within 14 days, both defendants (who are husband and wife) were have a $100,000
17
     secured bond lodged with the court. Additional time is needed to complete the process of filing a
18
     bond secured by real property. Therefore, the parties stipulate that the secured bond for both
19
     Teresa Maria Morales and Enrique Morales will be filed by August 29, 2007.
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21
     Dated: August 22, 2007                /s/ Tim Warriner, Attorney for Teresa Morales
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23
     Dated: August 22, 2007                /s/ Bruce Locke, Attorney for Enrique Morales
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     Dated: August 22, 2007                /s/ Matthew Stegman, Assistant U.S. Attorney
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28                                                   1
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 1                                               ORDER
 2           IT IS HEREBY ORDERED that defendants Teresa Maria Morales and Enrique Morales
 3 will have until August 29, 2007 to file their $100,000 bonds secured by real property.
 4 DATED: August 23, 2007.
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 8   Ddad1/orders.criminal/morales0314.stipord

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